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                               Case 1:05-cr-00022 Document 6 Filed 07/13/05 Page 1 of 5

                                                                                                    F f L E D
                                                                                                        Clerk
                                                                                                    District Court


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                                         IN THE UNITED STATES DISTRICT ~~~em Mariana Islands~
                   2                                                                       BY.                       ~
                                          FOR THE NORTHERN MARIANA ISLANrl~pu~;clerk)O
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                   5   UNITED STATES OF AMERICA,                            )
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                   6                   Plaintiff,                           ) CRIMINAL CASE NO. 05-00022
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                                                                           )
                               -v-                                         )
                   8                                                       )
                       DAI, XIAO JUN,                                      )            ORDER
                   9                                                       )       SETTING TRIAL DATE
                                       Defendant.                          )
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              12               IT IS HEREBY ORDERED that the jury trial herein shall commence on MONDAY,
              13
                       September 12, 2005 at 9:00 a.m.
              14
                               IT IS FURTHER ORDERED that pretrial motions shall be filed no later than MONDAY,
              15
                       August 15, 2005.
              16

              17              IT IS FURTHER ORDERED that the following shall be filed with this Court no later than

              18       seven (7) days prior to trial:
              19
                               1)     Proposed jury voir dire questions;
              20
                              2)      A joint exhibit list - (Government's exhibits numbered; Defendant's exhibits
              21                      lettered)(One original and three copies for the Court);
              22
                              3)      A complete set of marked exhibits (with a three copies for the Court);
              23
                              4)      Proposed verdict forms;
              24
                              5)      Witness lists for purposes of voir dire only. (Witness lists shall include: legal
              25
                                      names, aliases, nicknames, place of residence and place of employment),
              26                      (One original and three copies for the Court);



AO 72
(Rev. 8/82)
                               •                                        •
                ...   Case 1:05-cr-00022 Document 6 Filed 07/13/05 Page 2 of 5




                      6)   Proposed jury instructions. (Those jury instructions upon which agreement cannot
                           be reached shall be submitted in a separate packet, together with the objections
                2          and authority therefore of each party.)
                3

                4          Dated this 13th day of July, 2005.

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                                                                 Designated Judge
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                                            FOR. THE NORTHERN" ~ARIANA ISL.AN"J:iSrput,yOlark)
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                                3)        A   COllnplete set of auorked e:xbibita ('With a t h r - copies for 'the Court);
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                                    IT IS :&:ER.EBY ORDERED that the jury t:r.l&l herein shall com:rnenc:e on 1'\i.IONDAY,
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                 16                 rr IS FURTHER. ORDERED that pretrial .n:uxfon.s shall. be ftlecl :no la.:er than 1'\i.IONDAY     •
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